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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

  MARTIN J. WALSH,                                     )
  SECRETARY OF LABOR, UNITED                           )
  STATES DEPARTMENT OF LABOR,                          )
                                                       )
                                  Plaintiff,           )
                                                       )        Case No. 2:18-cv-226
                         v.                            )
                                                       )        Case No. 2:19-cv-475
  MEDICAL STAFFING OF AMERICA,                         )
  LLC, D/B/A STEADFAST MEDICAL                         )
  STAFFING; LISA ANN PITTS,                            )
                                                       )
                                  Defendants.          )

                 CONSENT NOTICE OF FILING OF CERTAIN EXHIBITS
                           FOR PURPOSES OF APPEAL

        For purposes of the Joint Appendix that is due to the United States Court of Appeals for

 the Fourth Circuit under the appeal noticed by Defendants (Dkt. 332), Defendants Medical Staffing

 of America, LLC d/b/a Steadfast Medical Staffing and Lisa Ann Pitts, hereby file certain exhibits

 to make such exhibits part of the district court’s electronic record. The exhibits comprise jointly

 designated portions of the trial record by both parties. Appellate counsel for the Plaintiff Martin J.

 Walsh consents to this notice.

        The following chart summarizes the attached exhibits:

       Attachment Number to This Filing                                Description
  Attachment 1                                         Alvaro Mazuera Deposition Transcript
                                                       Zira Technologies 30(b)(6) Deposition
  Attachment 2
                                                       Transcript
  Attachment 3                                         PX-10
  Attachment 4                                         PX-11
  Attachment 5                                         PX-12
  Attachment 6                                         PX-16

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  Attachment 7                             PX-25
  Attachment 8                             PX-26
  Attachment 9                             PX-37
  Attachment 10                            DX-41
  Attachment 11                            DX-42
  Attachment 12                            DX-44
  Attachment 13                            DX-46


 Dated: August 17, 2022                      Respectfully submitted,

                                             /s/ Abram J. Pafford
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                                             Counsel for Defendants




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 17, 2022, I filed the foregoing document with the Clerk of

 the Court using the CM/ECF system, which will send a notification of such filing to all counsel of

 record.



 Dated: August 17, 2022                                Respectfully submitted,

                                                       /s/ Abram J. Pafford
                                                       Abram J. Pafford (VSB #79999)
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